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In the Anited States Court of Federal Clatms
FILED

 

STACY ALLEN TAYLOR, MAY 9 2014
U.S. COURT OF
Plaintiff, FEDERAL CLAIMS
No. 14-393C
V. (Filed: May 9, 2014)

THE UNITED STATES OF AMERICA,

Defendant.

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ORDER DISMISSING CASE SUA SPONTE

On May 8, 2014, plaintiff Stacy Allen Taylor, proceeding pro se, and requesting leave to
proceed in forma pauperis, filed a handwritten complaint, naming as defendants the United
States, the C.1.A., retired Judge Jennifer Coffman of the United States District Court for the
Western District of Kentucky, the Western District of Kentucky offices of the U.S. Attorney, the
U.S. Marshals Service, and the F.B.I., and the Washington, D.C., offices of the F.B.I. and the
Secret Service. Mr. Taylor alleges, among many other things, that he entered an agreement “to
Assist the U.S. C.LA. Agents . . . in collecting information and assets from the I.R.A. (Irish
Republican Army)... in exchange . . . [for] witness protection .. . and full immunity from any
prosecution.” Compl. 2. He also alleges that a number of corrupt C.I.A. agents have committed
treason and were involved in several acts of terrorism in recent years, including the Boston
Marathon bombing, the attacks on the U.S. consulate in Benghazi, and others. See id. at 5. He
further alleges that he reported information to defendants that could have prevented these acts of
terrorism, but “[t]he Defendants did not respond.” Id. References are also made to the alleged
sale of nuclear warheads to Iran by Russia. Id. at 2. He asks “the court to simply uphold the
Law, and let the truth be heard” and to enforce an alleged agreement with the C.I.A., under
which he is entitled to “monthly payments . . . until the plaintiffis safe.” Id. at 6.

The Court will grant Mr. Taylor’s application to proceed in forma pauperis for the limited
purpose of dismissing the complaint pursuant to 28 U.S.C. § 1915(e)(2). Under this statute, in
proceedings in forma pauperis, a court is given authority to “dismiss the case at any time if the
court determines that . . . the action is frivolous or malicious.” As the Supreme Court has
observed, “the statute accords judges . . . the unusual power to pierce the veil of the complaint’s
factual allegations and dismiss those claims whose factual contentions are clearly baseless,”
including “claims describing fantastic or delusional scenarios.” Neitzke v. Williams, 490 U.S.
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319, 328 (1989). See also Livingston v. Adirondack Beverage Co., 141 F.3d 434, 437 (2d Cir.
1998).

The Court finds that the factual allegations and claims in Mr. Taylor’s complaint are
“frivolous” within the meaning of section 1915(e)(2) because they describe what are clearly

“fantastic or delusional scenarios.” Therefore, the complaint is hereby DISMISSED with
prejudice. The clerk is directed to enter judgment accordingly.

IT IS SO ORDERED.

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ELAINE D. KAPLAN
Judge
